              Case 18-50609-btb            Doc 326       Entered 12/21/18 13:06:27        Page 1 of 4




 1   GOLDSTEIN & MCCLINTOCK LLLP
     Thomas R. Fawkes
 2   Brian J. Jackiw
     Jeffrey M. Goldberg
 3   111 W. Washington St., Suite 1221
 4   Chicago, Illinois 60602
     Telephone: (312) 337-7700
 5   Facsimile: (312) 277-2305

 6   Counsel to the Official Committee of Unsecured Creditors

 7                                UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEVADA
 8
 9   In re                                 )                     Jointly Administered under Case No. 18-
                                           )                     50609-btb with
10                                         )
     Ƒ X-TREME BULLETS, INC.,              )                     Case Nos. 18-50610-btb; 18-50611-btb; 18-
11                                         )                     50613-btb; 18-50614-btb; 18-50615-btb; 15-
     Ƒ HOWELL MUNITIONS &                  )                     50616-btb; and 18-50617-btb
12                                         )
     TECHNOLOGY, INC.,                     )                     Chapter 11 Proceedings
13                                         )
     Ƒ AMMO LOAD WORLDWIDE, INC.,          )                     PROFESSIONAL FEE STATEMENT
14                                         )
                                           )                     NUMBER: 3
15   Ƒ CLEARWATER BULLET, INC.             )
                                           )                     Month of: October 2018
16                                         )
     Ƒ HOWELL MACHINE, INC.,               )
17                                         )
     Ƒ FREEDOM MUNITIONS, LLC              )
18                                         )
                                           )
19   Ƒ LEWIS-CLARK AMMUNITION              )
     COMPONENTS, LLC,                      )
20                                         )
                                           )
21   Ƒ COMPONENTS EXCHANGE, LLC,           )
                                           )
22   6 ALL DEBTORS                         )
23   _____________________________________ )
                                           )
24   1.   Name of Professional                                        BDO USA, LLP (“BDO”)
     2.   Date of entry of order approving employment of the          October 11, 2018
25        professional:
     3.   Total amount of pre-petition payments received by the       N/A
26        professional:
     4.   Less: Total amount of pre-petition services rendered and    N/A
27        expenses:
     5.   Balance of funds remaining on date of filing of petition:   N/A
28
             Case 18-50609-btb             Doc 326       Entered 12/21/18 13:06:27     Page 2 of 4



     6.  Total amount of all services rendered per prior fee          N/A
 1       statements:
     7. Total amount of payments received by the professional         $0.00
 2       for post-petition services rendered by the professional:
     8. Total amount of services and expenses this reporting          $6,040.50
 3       period:
     9. Amount authorized to be paid from the Debtors’ estates:       $5,134.43
 4   10. Total amount to be paid from the Debtors’ estates for this   $5,134.43
         reporting period:
 5
 6
     Detailed documentation supporting the fees earned and the expenses incurred by BDO during this
 7
     reporting period have been served on the United States Trustee, the Debtors, the Members of the
 8
     Creditors’ Committee, and any creditors requesting special notice in these cases. A copy of the
 9
     detailed documentation will be provided by BDO to any other party upon written request. Fees
10
     and costs will be paid from property of the Debtors’ estates in the amount stated in Item 9 above
11
     unless an objection is filed with the Clerk of the Court and served upon BDO within 10 days from
12
     the date of service of this statement.
13
14
     11. Total number of pages attached hereto:                       2
15   The above is a true and correct statement of fees earned and expenses incurred during the
16   indicated reporting period.
17   Dated: December 21, 2018                             Respectfully submitted,
18                                                        GOLDSTEIN & MCCLINTOCK LLLP

19
20                                                                /s/Thomas R. Fawkes
                                                          Thomas R. Fawkes, Esq.
21                                                        Brian J. Jackiw, Esq.
22                                                        Jeffrey M. Goldberg, Esq.
                                                          GOLDSTEIN &MCCLINTOCK LLLP
23                                                        111 W. Washington Street, Suite 1221
                                                          Chicago, IL 60602
24                                                        Phone: (312) 337-7700
25                                                        Fax: (312) 277-2305

26                                                        On behalf of BDO USA, LLP
27
28
                                                                                    BDO USA, LLP
                                                Services to Unsecured Creditors Committee of X-Treme Bullets, Inc. et al
                                                                                      October 2018



      Date                 Activity Descr             Empl Name     Hours    Rate          Amount                                                      Comment


10/3/2018       Case Management                   Goddard,Larry       2.50   450.00        1,125.00   Review docket entries 189-234, including reviewing cash budget, August MOR, Winthrop fee app (2.5)

10/5/2018       Case Management                   Byrne,Tom           1.00   450.00          450.00   Review filed info for case;
10/19/2018      Case Management                   Goddard,Larry       0.70   450.00          315.00   Call with Mike Issa to get status update on case (.7)
10/19/2018      Case Management                   Goddard,Larry       0.30   450.00          135.00   Review files and notes to prepare for the call with Mike Issa (.3)
10/19/2018      Case Management                   Goddard,Larry       0.50   450.00          225.00   Review recent docket entries (.5)
10/31/2018      Case Management                   Kozel,Mark          0.20   425.00           85.00   Review MOR’s sent by Jacob for review. Email suggestion on same (0.2)
             Total - Case Management                                  5.20                 2,335.00

10/31/2018      Committee Communications          Goddard,Larry       0.40   450.00          180.00   Call with Goldstein team to prep for committee call (.4)
10/31/2018      Committee Communications          Goddard,Larry       0.80   450.00          360.00   Additional prep for committee call (.8)
10/31/2018      Committee Communications          Goddard,Larry       0.90   450.00          405.00   Committee call (.9 )
                                                                                                                                                                                                           Case 18-50609-btb




             Total - Committee Communications                         2.10                   945.00

10/10/2018      Docket Review                     Aronovich,Jacob     0.20   185.00           37.00   Review docket and provide relevant documents to team
10/19/2018      Docket Review                     Aronovich,Jacob     0.50   185.00           92.50   Review docket and provide relevant documents to team
10/26/2018      Docket Review                     Aronovich,Jacob     0.30   185.00           55.50   Review docket and provide relevant documents to team
10/31/2018      Docket Review                     Aronovich,Jacob     0.30   185.00           55.50   Review docket and provide relevant documents to team
                                                                                                                                                                                                           Doc 326




             Total - Docket Review                                    1.30                   240.50

10/4/2018       Information Examination           Goddard,Larry       1.30   450.00          585.00   Review documents provided by Mike Issa (1.3)
10/5/2018       Information Examination           Goddard,Larry       1.50   450.00          675.00   Review documentation provided by Mike Issa (1.5)
10/19/2018      Information Examination           Byrne,Tom           1.00   450.00          450.00   call with Mike Issa and prep;
             Total - Information Examination                          3.80                 1,710.00

10/3/2018       Value Maximization                Goddard,Larry       0.80   450.00          360.00   Do research on potential purchaser (.8)
10/16/2018      Value Maximization                Goddard,Larry       0.50   450.00          225.00   Review information on potential buyer (.5)
10/17/2018      Value Maximization                Goddard,Larry       0.50   450.00          225.00   Review information on prospective purchaser (.5)
             Total - Value Maximization                               1.80                   810.00


             TOTAL                                                   14.20                 6,040.50
                                                                                                                                                                                                           Entered 12/21/18 13:06:27
                                                                                                                                                                                                           Page 3 of 4




                                                                                       Page 1 of 2
                                                               BDO USA, LLP
                           Services to Unsecured Creditors Committee of X-Treme Bullets, Inc. et al
                                                                 October 2018


                                                                 Timekeeper

          Activity Descr         Empl Name     Hours    Rate          Amount

Case Management              Goddard Larry       4.00   450.00        1,800.00
                             Byrne,Tom           1.00   450.00          450.00
                             Kozel,Mark          0.20   425.00           85.00

Committee Communications     Goddard Larry       2.10   450.00          945.00

Docket Review                Aronovich,Jacob     1.30   185.00          240.50

Information Examination      Goddard Larry       2.80   450.00        1,260.00
                             Bryne,Tom           1.00   450.00          450.00

Value Maximization           Goddard Larry       1.80   450.00          810.00
                                                                                                      Case 18-50609-btb




                                                14.20                 6,040.50
                                                                                                      Doc 326
                                                                                                      Entered 12/21/18 13:06:27
                                                                                                      Page 4 of 4




                                                                  Page 2 of 2
